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Plaintiff Albert Halprin

UNITED STA’I`ES DISTRICT COURT
BISTRICT OF NEW JERSEY

 

ALBERT HALPRIN, 011 behalf of himself
and all Others Sirnilarly Situated,

Case NO.
Plaintiff,
v.
VERIZON W'IRELESS SERVICES, LLC
and CELLCO PARTNERSHIP, d/b/a
VERIZON WIRELESS,

Defendants.

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ORIGINAL CLASS ACTION COMPLAINT
Plaintiff Albert Halprin, on behalf of himself and all others Similarly Situated, alleges as
follows against Defendants Verizon Wireless Services, LLC and Cellco Partnership, cl/b/a

Verizon Wireless (collectiveiy “Verizon Wireless” or “Defendants”):

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l. Verizon Wireless is a cellular service provider that allows its customers to use
AOL lnstant Messenger (“AIM”) for “instant messaging” on the Verizon Wireless cellular
network. Verizon Wireless represents that customers Will be charged only for messages sent or
received. Contrary to Verizon’s representations, after a Verizon Wireless consumer logs in to
AIM on a Verizon Wireless cell phone, Verizon Wireless imposes charges Which Verizon
Wireless claims are for instant messages, but actually are imposed simply as a result of logging
in, and this occurs even if the user does not send or receive any instant messages Plaintiff
further alleges that When customers compiain about these charges, Verizon Wireless “npsells”
customers to more expensive monthly packages and thus profits further from these improper

charges

JURISDICTION AND VENUE

2. The Court has jurisdiction over the action, Which alleges violations of Section 201
of the Federal Communications Act of l934 (“FCA”), 47 U.S.C. § 201 er Seq., and the federal
declaratory relief statute, 28 U.S.C. §§ 220l er Seq., pursuant to 28 U.S.C. § 1331. 'i`he Court
has supplemental jurisdiction over Plaintifi"s state law claims for violations of the New lersey
Consumer Fraud Act (“NJCFA”) and breach of contract, pursuant to 28 U.S.C. § 1367.

3. Venue in this judicial district is proper pursuant to 28 U.S.C. § l39l(b) and (c).
Defendants maintain their principal place of business in Bedrninster, New Jersey, and regularly
transact business here. A substantial part of the events and conduct giving rise to the obligations,
liabilities, breaches, and/or violations of law complained of occurred in or emanated from this
District, and Defenclants conduct business in this District.

PARTIES

4. Plaintit`f Albert Haiprin is a resident of Fairfax County, Virginia.

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5. Defendants Verizon Wireless Services, LLC and Cellco Partnership, dfh/a
Verizon Wireless are both corporations organized and existing under the laws of the State of
Delaware with principal places of business in Bedminster, New Jersey.

SUBSTANTIVE ALLEGATIONS

6. Instant messages or instant messaging (“IM”) is a form of real-time electronic
communication in which typed text is transmitted between two or more people. During an IM
conversation, each line of typed text is transmitted right after a new line is started

7. One of the most widely used il\/l applications is AOL Instant Messenger (“All\/i”),
which AOL, LLC (“AOL”), formerly known as Ainerica Online, lnc., first released in May 1997.

One feature of AlM is a “Buddy List,” which is a list of other AIM users selected by the user

showing the status of those other users, for example, whether they are “online,” “away,” “idle,”
or “offline.” By August 1999, there were an estimated 45 million users of AlM.
8. When AIM was first released, AIM users needed to be online (e.g., connected to

the lnternet via a personal computer) in order to send or receive instant messages via AIM. ln
approximately September 2002, AOL and Verizon Wireless, the nation’s largest Wireless service
provider, announced that AIM Was available for Verizon Wireless customers

9. ln a press release dated September 25, 2002, Verizon Wireless stated: c‘With this
launch, customers can quickly and easily send short messages to everyone on their Buddy List®

Without needing to go online via a PC. With the AlM service, Verizon Wireless customers can:

o Exchange instant messages with others, regardless of whether they are signed on via a
computer, mobile phone or other wireless device;

o See when their friends, family and colleagues are online via the Buddy List feature
and be alerted when their buddies sign on;

» Use the same AOL or AIM screen name and passworcl as they do on their computers;
o Send and receive private text messages in real-time;

o Set privacy preferences, allowing them to bioch instant messages from certain people
and to choose who is able to see when they are signed on;

» Discreetly communicate in situations Where speaking out loud is inappropriate such
as in business meetings, theaters or restaurants.”

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10. Several of these features, including the ability to know if one’s “buddies” are
online and to be alerted When buddies sign on, distinguish Verizon’s “instant messaging” service
from “text messaging,” also known as “Short Message Service” (“SMS”). SMS is a different
service, distinct from instant messaging, that was available to Verizon Wireless customers before
September 2002, and at present is still available to Verizon Wireless customers

ll. in its September 25, 2002 press release, Verizon stated that “The AIl\/l service
does not use airtime minutes” and “Verizon Wireless customers using the AIM service will only
be charged for the messages sent and received according to their Verizon Wireless price plan.”

l2. Verizon Wireless represents to its customers that “lnstant Messages are charged
just like Text Messages” and that there is “no extra fee to use the AIM service.” Verizon
Wireless also states: “There is no extra fee to use the AlM service You will also not be charged
airtime while using AlM. However, you will be billed per message according to your Calling
Plan or Text Messaging plan. AIM works the same way as text messaging.”

13. Verizon Wireless’s billing practices are inconsistent with its representations to its
customers Atter a Verizon Wireless consumer logs in to AIM on a Verizon Wireless cell phone,
Verizon Wireless imposes charges which Verizon Wireless claims are for instant messages, but
actually are imposed simply as a result of logging in, and this occurs even if the user does not
send or receive any instant messages

14. Verizon Wireless responds to complaints about excessive billing by attempting to
“upsell” customers to more expensive monthly packages and thus profit farther from these
charges.

PLAINTIFF’S EXPERIENCES

15. PiaintiffAlbert Halprin is a customer of Verizon Wireless. While he was
reviewing charges for a Verizon Wireless statement dated i\/larch 19, 2007, Plaintiff Halprin
discovered a surprisingly large number of $0. 10 charges labeled “Dornestic ~ Text,” including
several instances in which there were ten or more charges, and as many as 17 charges, over the

span of a single minute.

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16. After discovering these charges, Plaintiff Halprin contacted Verizon Wireless
Verizon Wireless claimed that the charges were for instant messages associated with AIM.
Halprin complained that the bill did not accurately reflect messages actually sent or received

l7. Verizon Wireless’s customer service representative acknowledged that other
customers had complained of the same billing problem and suggested he upgrade to a more
expensive monthly plan whereby Verizon Wireless charges a flat rate for a high volume of
instant messages Plaintif`f Halprin therefore was upsold retroactively to a more expensive
monthly plan.

18. Verizon Wireless charged Plaintiff Halprin for instant messages that were not
actually sent or received

19. Plaintiff Halprin has paid higher monthly fees as a result of Defendants’ conduct.

NO ENFORCEABLE AGREEMENT TO ARBITRATE

20. ln its “tenns and conditions,” Verizon Wireless includes clauses that purport to
impose on its customers a requirement of mandatory arbitration These terms and conditions
constitute contracts of adhesion. They are drafted entirely by Verizon Wireless on a take-it-or-
leave it basis without the opportunity for the customer to negotiate Consumers do not have the
bargaining power to negotiate changes to these terms and conditions

2 l. Verizon Wireless’s terms and conditions that purport to require mandatory
arbitration are unconscionable in this setting where disputes between the contracting parties
predictably involve small amounts of damages, such that rational consumers may decline to
pursue individual lawsuits because it may not be worth the time spent prosecuting the suit. ln '
practice, these terms and conditions, if enforceable, would functionally exculpate wrongful
conduct by immunizing Verizon Wireless from responsibility Courts have held that mandatory
arbitration provisions such as these are unconscionable and unenforceable See, e.g., Muhammczd
v. Coumy chk ofRehoboth Beach, 9l2 A.2d 88, 100-101 (N.J. 2006); Creighton v. Blockfmster
Inc., 2007 U.S. Dist. LEXIS 39265, at *7-9 (D. Or. Nov. 28, 2006); Scort v. Cingular Wireless,
161 P.3d 1000, 2007 Wash. LEXIS 479, at *22-23 (Wash. July 12, 2007).

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22. Verizon Wireless’s terms and conditions that purport to require mandatory
arbitration are also unconscionable because motions to compel enforcement of these clauses
result in unnecessary delay and costs on customers Who assert meritorious claims 'l`hus, these
terms and conditions discourage consumers with meritorious claims from vindicating their legal
rights, and have the practical effect of limiting substantive rights and remedies available to
consumers See, e.g., Ting v. AT&T Corp., 319 F.3d 1126, 1151 (9th Cir. 2003).

CLASS ACTION ALLEGATIONS
23. Plaintiff Halprin brings this action on behalf of himself and all others similarly

situated as members of a proposed plaintiff class, defined as follows:

All persons whom Verizon Wireless charged for use of AOL instant Messenger
(“All\/l”) from August 17, 2001 to the present

Excluded from the class are Defendants, any entities in which Defendants have a controlling
interest, Defendants’ officers, directors, and employees; l)efendants’ legal representatives heirs,
successors and assigns; any Judge to whom this case is assigned and his or her immediate
family.

24. This action has been brought and may properly be maintained pursuant to Federal
Rules of Civil Procedure 23(a)(1)-(4), 23(b)(1), (2) or (3), and case law thereunder

25. §ilmerositv Of The Class ~ Fed.R.Civ.P. 23(a}(1). Class members are so
numerous that their individual joinder is impractible. Plaintiff estimates that there are thousands
of members in the proposed class The precise numbers of class members and their addresses are
unknown to Plaintiff, but can be obtained from information and records in Defendants’
possession and control.

26. I_+I_x_i_stence Agd Predominance Of Cornlnon Questions Of Law And Fact -
Fed.R.Civ.P. 23(a)(2). 23(!))(3). Common questions of law and fact exist as to all members of
the class These predominate over any questions affecting only individual class members These

common legal and factual questions include, but are not limited to the following:

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a. Whether Verizon Wireless has charged Plaintiff and class members for instant
messages that have not actually been sent or received;

b. Whether Verizon Wireless’s charges for instant messaging, described above, are
charges and/ or practices in connection with communication service, subject to the
requirements of the F ederal Communications Act, 47 U.S.C. § 201(b);

c. Whether Verizon Wireless’s charges for instant messag`ing are unjust and/or
unlawful under Section 20l(b);

d. Whether Verizon Wireless’s imposition of charges for instant messaging, as
described above, is an act or practice in the conduct of trade or commerce;

e. Whether the imposition of charges for instant messaging, as described above, is
deceptive, unfair, and unconscionable because Verizon Wireless charges
consumers for instant messages that are not actually sent or received;

f. Whether Verizon Wireless’s practice of upselling consumers to more expensive
monthly plans, based on complaints about instant messaging charges, is
deceptive, unfair, and unconscionable because Verizon Wireless charges
consumers for instant messages that are not actually senter received;

g. Whether, as a direct and proximate result of Verizon Wireless’s deceptive and
unfair acts and practices, Plaintiff and class members suffered an ascertainable
loss;

h. Whether Verizon Wireless has committed deceptive acts or practices within the
meaning of the New lersey Consumer Fraud Act by engaging in the acts and
practices alleged herein;

i. Whether Verizon Wireless has breached its contracts with Plaintiff and class
members by charging for instant messages that are not in fact sent or received;

j. Whether Verizon Wireless breached its contracts with Plaintiff and class members
by its practice of upselling consumers to more expensive monthly plans;

k. Whether Plaintiff and class members are entitled to injunctive relief; and

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l. Whether Plaintiff and class members are entitled to damages, interest, and
attorneys’ fees and costs

27. Tvpicalitv - Fed.R.Civ.P. 23(a)(3). Plaintiff’ s claims are typical of the claims of
the class because, as with other class members, Verizon Wireless imposed charges on Plaintiff
for instant messages associated with AOL lnstant Messenger.

28. Adequacv - Fed.R.Civ.P. 23(a)(4}. Plaintiff is an adequate representative of the
class because Plaintiff" s interests do not conflict with the interests of the class members Plaintiff
seeks to represent Plaintiff has retained counsel competent and experienced in complex class
action litigation Plaintiff intends to prosecute this action vigorously. The interests of the class
members will be fairly and adequately protected by Plaintiff and Plaintiff" s counsel.

29. Superioritv -~ Fed.R.Civ.P. 23(b}(3). A class action is superior to all other
available means for the fair and efficient adjudication of Plaintiff’ s claims The damages
suffered by each individual class member are small given the burden and expense of individual
prosecution of the complex and extensive litigation necessitated by Defendants’ conduct. lt
would be virtually impossible for the class members individually to redress effectively the
wrongs done to them. Furthermore, even if class members could afford such individualized
litigation, the court system could not. Individualized litigation would create the danger of
inconsistent or contradictory judgments lndividualized litigation would increase the delay and
expense to all parties and the court system from the complex legal and factual issues of the case.
By contrast, the class action device presents far fewer management difficulties and provides the
benefits of single adjudication, economy of scale, and comprehensive supervision by a single
court.

30. Certification under Fed. R. Civ. P. 23(b)(1) and/or 23(b)(2). Certification may
also be appropriate under Fed R. Civ. P. 23(b)(1) and/or (b)(2) because:

a. the prosecution of separate actions by individual class members would create a

risk of inconsistent or varying adjudications With respect to individual class

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members which would establish incompatible standards of conduct for
Defendants;

b. the prosecution of separate actions by individual class members would create a
risk of adjudications with respect to them which would, as a practical matter, be
dispositive of the interests of other class members not parties to the adjudications
or substantially impair or impede their ability to protect their interests; and

c. Defendants have acted or refused to act on grounds generally applicable to the
class thereby making appropriate final injunctive relief with respect to the class
as a whole.

FIRST CAUSE OF ACTION
(For Violations of § 201 of the Federal Communications Act, 47 U.S.C. § 201 et seq.)

31. Plaintif`f Halprin, on behalf of himself and the class hereby realleges and
incorporates by reference all paragraphs previously alleged herein

32. Verizon Wireless is a common carrier engaged in interstate or foreign
communication by wire or radio, and is subject to the common carrier regulation set forth in the
Federal Communications Act of l934 (“FCA”), 47 U.S.C. § 201 et seq.

33. Verizon Wireless’s charges for instant messages as described above, are charges
and/or practices in connection with communication service, subject to the requirements of 47
U.S.C. § 201(b).

34. Section 201Cb) of the FCA requires that all charges practices classifications and
regulations for and in connection with communication service, shall be just and reasonable

35. Verizon Wireless’s charges for instant messages that are not actually sent or
received are unjust and/or unlawful under Section 201(b).

36. As a direct and proximate cause of Defendants’ violation of 47 U.S.C. § 201(b)

described above, Plaintiff and the class have been damaged

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37. 'l`his action is timely in that Plaintiff brought his FCA claim within two years of

the date of the occurrence of the violations alleged herein. 47 U.S.C. § 415(b).

SECOND CAUSE OF ACTION
(For Violations of NeW Jersey Consumer Fraud Act, N.J. Rev. Stat. § 56:8-1 et seq.)

38. Plaintiff Halprin, on behalf of himself and the class hereby realleges and
incorporates by reference all paragraphs previously alleged herein.

39. The New Jersey Consumer Fraud Act, N.J. Rev. Stat. § 56:8~1 et seq. (“NJCFA”),
was enacted and designed to protect consumers against unfair, deceptive, or fraudulent business
practices

40. N.J. Rev. Stat. § 56:8-2 provides:

“The act, use or employment by any person of any unconscionable commercial
practice, deception, fraud false pretense, false promise, misrepresentation, or the
knowing, concealment, suppression, or omission of any material fact . . . whether
or not any person has in fact been misled deceived or damaged thereby, is
declared to be an unlawful practice”

41. At all relevant times Plaintiff, class members and Defendants were “persons”
within the meaning ofN.J. Rev. Stat. § 56:8»~1.

42. Verizon Wireless’s imposition of charges for instant messaging, as described
above, is an act or practice in the conduct of trade or commerce

43. Verizon Wireless’s imposition of charges for instant messaging, as described
above, is deceptive, unfair, and unconscionable because Verizon Wireless charges consumers for
instant messages that are not in fact sent or received

44. Verizon Wireless’s practice of upselling consumers to more expensive monthly
plans, based on complaints about instant messaging charges is deceptive, unfair, and
unconscionable because Verizon Wireless charges consumers for instant messages that are not in
fact sent or received

45. As a direct and proximate result of Verizon Wireless’s deceptive, unfair, and

unconscionable acts and practices Plaintiff and members of the class suffered an ascertainable

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loss, including but not limited to the amount of the charges for instant messages that Were not in
fact sent or received Equity and good conscience requires restoration of their money; injunctive
relief, including but not limited to, restricting Verizon Wireless from continuing to charge for
instant messages that are not in fact sent or received

46. Verizon Wireless has committed deceptive, unfair, and unconscionable acts or
practices within the meaning of the NJCFA by engaging in the acts and practices alleged herein.

47. This action is timely in that Plaintiff brought his NJCFA claim within six years of
the date of the occurrence of the violations alleged herein N.J. Rev. Stat. § 2A:l4-l.

THIRD CAUSE OF ACTION

(For Breach of Contract)

48. Plaintiff Halprin, on behalf of himself and the class, hereby realleges and
incorporates by reference all paragraphs previously alleged herein.

49. Verizcn Wireless breached its contracts with Plaintiff and the class by charging
for instant messages that are not in fact sent or received

50. As a result of Verizon Wireless’s aforesaid breaches of contract, Plaintiff and the
class were damaged by being charged for instant messages that are not in fact sent or received

51. Customers who enter into cellular telephone service contracts have a reasonable
expectation that complaints of unauthorized or excessive charges will be reasonably investigated
and refunded This is an implied term of the contractl

52. Verizon Wireiess breached its contracts With Plaintiff and the class by its practice
ofupseiling consumers to more expensive monthly plans, based on complaints about
unauthorized or excessive instant messaging charges, because consumers are charged for instant
messages that are not in fact sent or received

53. As a result of the above contractual breaches, and each of them, Plaintiff is
informed and believes that Verizon Wireless charged class members excess charges and monthly

fees in an amount according to proof at trial.

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FOURTH CAUSE OF ACTI()N
(For Declaratory Relief Pursuant to 28 U.S.C. § 2201 et seq.)

54. Plaintiff Halprin, on behalf of himself and the class, hereby realleges and
incorporates by reference all paragraphs previously alleged herein.

55. An actual controversy, over which this Court has jurisdiction, has arisen and
exists between the parties relating to the legal rights and duties of Plaintiff and Defendants for
which Plaintiff desires a declaration of rights.

56. Verizon Wireless has charged Plaintiff and class members for instant messages
that were not in fact sent or received

57. A declaratory judgment is necessary to determine Plaintiff’s and class members’
rights in connection with Verizon Wireless’s charges for instant messages that are not in fact sent
or received including, among other things, a declaration that Defendants have violated § 201 of
the Federal Communications Act, 47 U.S.C. § 201 et seq.; a declaration that Defendants have
violated the New Jersey Consumer Fraud Act, N..i. Rev. Stat. § 56:8-1 et Seq.; and a declaration
that Defendants charged Plaintiff and class members for instant messages that were not in fact
sent or received in violation of Verizon Wireless’s contracts with Plaintiff and the class.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated prays for
judgment against Defendants as follows:

58. For an order certifying the class under Rule 23 of the F ederal Rules of Civil
Procedure and appointing Plaintiff and his counsel of record to represent the class;

59. For actual damages sustained by Plaintiff and all others similarly situated as a
result of Befendant’s unlawful conduct and practices complained of herein;

6{). Equitable relief as the Court deems proper including but not limited to restitution
and/or disgorgement;

61. For pre-judgment and post-judgment interest;

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62. For attorneys’ fees and costs of suit, including expert witness fees;
63. For injunctive relief, including but not limited to, restricting Defendants from
continuing to charge consumers for instant messages that are not in fact sent or received and
64. For such other and further relief as this Court deems just and proper.
DEMAND FOR .IURY TRIAL

65 . Plaintiff hereby demands a trial by jury on all claims so triable

Dated: August 22, 2007 Respectfully submitted
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